Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 1 of 30




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                   CASE NO. _______________

  BABIECA CAPITAL, LP,

         Plaintiff,

  v.

  MORDECHAI COHEN,
  COHEN ANYTIME, INC.,
  COHEN JEWELS INC.,
  IZHAK COHEN,
  TONIC INVESTMENTS, LLC,
  KATHERINE COHEN, and
  JULIANA BUILES,

        Defendants,
  _________________________________ /

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff BABIECA CAPITAL, LP (“Babieca”) sues Defendants MORDECHAI COHEN

  (“Cohen”), COHEN ANYTIME, INC. (“Cohen Anytime”), COHEN JEWELS INC. (“Cohen

  Jewels”), IZHAK COHEN (“Izhak”) TONIC INVESTMENTS, LLC (“Tonic Investments”),

  KATHERINE COHEN (“Katherine”), and JULIANA BUILES (“Builes”) (collectively,

  “Defendants”), and alleges as follows:

                                        INTRODUCTION

         1.      Plaintiff brings this action to recover damages caused by Defendants’ systematic

  and unlawful scheme to defraud Plaintiff of $7,500,000.00 worth of luxury watches.

         2.      In late 2022, Plaintiff agreed to sell, and Cohen Anytime agreed to buy, an entire

  inventory of high-end and expensive watches at the agreed price of $7,500,000.00. To date of

  filing this Complaint, Cohen Anytime has failed and refused to make any payment (not one single

                                                 1
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 2 of 30




  dollar) to Babieca as required under the contract documents. Additionally, the purchase was

  guaranteed by Cohen, the owner of Cohen Anytime, who likewise failed and refused to make any

  payment to Babieca for the watches.

         3.      Based upon Cohen Anytime and Cohen’s actions since the sale of the luxury

  watches - including their total refusal to make any payment for the watches and the inexplicable

  disappearance of the watches and gap in financial documentation about the whereabouts of or

  financial transactions involving the watches - it is believed that Cohen and Cohen Anytime never

  intended to actually pay Plaintiff $7,500,000.00 for the watches. Instead, Cohen and Cohen

  Anytime, along with Cohen Jewels, Izhak, Tonic Investments, Katherine, and Builes, 1 conspired

  amongst themselves and formed a RICO enterprise to defraud Babieca, starting with the purchase

  and sale of the watches and including fraudulently converting, thieving, concealing, and

  transferring the watches and monies produced from their sale.

         4.      Plaintiff was eventually forced to file suit against Defendants, first in Florida state

  court, and now this federal lawsuit, asserting federal claims, and adding parties to the RICO

  conspiracy.

         5.      As set forth herein, Defendants have further advanced their fraud through the

  criminal enterprise by intentionally dissipating assets, transferring assets and operating on a cash

  basis to avoid any tracing of monies, thereby making guarantees/security interests uncollectible.




  1
    JUAN PABLO HERNANDEZ (“Hernandez”) also conspired with and/or aided and abetted
  Cohen Anytime and Cohen in defrauding Plaintiff and has received fraudulent transfers of funds
  or assets from Cohen Anytime and/or Cohen in an effort by Cohen Anytime and/or Cohen to hide
  monies owed to Plaintiff. Hernandez is not yet named as a defendant in this case because he has
  filed for bankruptcy in an apparent effort to avoid liability. It is anticipated that his bankruptcy
  case will be dismissed due to willing noncompliance with disclosure and filing requirements, and
  if so, at that time he will be added as a defendant in this matter.
                                                   2
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 3 of 30




         6.      Furthermore, Cohen and Cohen Anytime also filed for bankruptcy in an attempt to

  shield themselves from liability. Upon information and belief their bankruptcy filings were

  fraudulent and both were dismissed.

         7.      Babieca requires a judgment against Defendants that cannot be discharged in a

  bankruptcy proceeding as Defendants have shown that they will use the bankruptcy system in an

  effort to avoid liability for their misconduct.

         8.      This matter should also be referred to the United States Attorney Office for various

  crimes involving mail and wire fraud, and money laundering which are the subject of Plaintiff’s

  Federal RICO claims.

                             PARTIES, JURISDICTION, AND VENUE

         9.      Babieca is a Canadian limited partnership with its principal place of business in

  Ontario, Canada.

         10.     Cohen Anytime is a Florida corporation with its principal place of business located

  at 169 E. Flagler Street, Suite 716, Miami, FL 33131, and is subject to the jurisdiction of this Court.

         11.     Cohen is an individual and is a resident of Miami, Florida, and is subject to the

  jurisdiction of this Court. At all material times, Cohen has been the President of Cohen Anytime.

         12.     Cohen Jewels is a Florida corporation with its principal place of business located

  at 169 E. Flagler Street, Suite 716, Miami, FL 33131, and is subject to the jurisdiction of this Court.

  As alleged herein Cohen Jewels conspired with and/or aided and abetted Cohen Anytime and

  Cohen in defrauding Plaintiff and has received fraudulent transfers of funds or assets from Cohen

  in an effort by Cohen Anytime and/or Cohen to hide monies or assets owed to Plaintiff.

         13.     Izhak is an individual and a resident of Miami, Florida, and is subject to the

  jurisdiction of this Court. Izhak is Cohen’s brother, and as alleged herein, Izhak conspired with



                                                    3
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 4 of 30




  and/or aided and abetted Cohen Anytime and Cohen in defrauding Plaintiff and has received

  fraudulent transfers of funds or assets from Cohen Anytime and/or Cohen in an effort to hide

  monies or assets owed to Plaintiff.

         14.     Tonic Investments is a Florida limited liability company with its principal place of

  business located at 46 N.W. 36th Street, Miami, FL 33127, and is subject to the jurisdiction of this

  Court. As alleged herein, Tonic Investments conspired with and/or aided and abetted Cohen

  Anytime and Cohen in defrauding Plaintiff and has received fraudulent transfers of funds or assets

  from Cohen Anytime and/or Cohen in an effort by Cohen Anytime and/or Cohen to hide monies

  owed to Plaintiff.

         15.     Katherine is an individual and is a resident of Miami, Florida, and is subject to the

  jurisdiction of this Court. Katherine is Cohen’s daughter, and as alleged herein Katherine conspired

  with and/or aided and abetted Cohen Anytime and Cohen in defrauding Plaintiff and has received

  fraudulent transfers of funds or assets from Cohen Anytime and/or Cohen in an effort by Cohen

  Anytime and/or Cohen to hide monies or assets owed to Plaintiff.

         16.     Builes is an individual and is a resident of Miami, Florida, and is subject to the

  jurisdiction of this Court. Upon information and belief, Builes is Cohen’s girlfriend, and as alleged

  herein Builes conspired with and/or aided and abetted Cohen Anytime and Cohen in defrauding

  Plaintiff and has received fraudulent transfers of funds or assets from Cohen Anytime and/or

  Cohen in an effort by Cohen Anytime and/or Cohen to hide monies or assets owed to Plaintiff.

  Builes has been Cohen’s “straw person” and assisted Cohen in all fraudulent schemes and money

  laundering, while hiding assets, including real estate in her name. Builes has also assisted in the

  opening and dissolving of companies in order to avoid litigation, more specifically as president of

  Cohen Anytime.



                                                   4
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 5 of 30




          17.     On information and belief, Defendants are part of a RICO criminal enterprise which

  they formed for the purpose of defrauding Babieca of $7,500,000.00 worth of luxury watches, and

  have been, and continue to be, engaged in a pattern of criminal activity, including crimes involving

  mail and wire fraud, and money laundering.

          18.     This Court has diversity-based subject matter jurisdiction pursuant to 28 U.S.C. §

  1332 since there is complete diversity among the parties, and the amount in dispute exceeds

  $75,000, exclusive of interest and costs.

          19.     The Court also has federal question subject matter jurisdiction over the federal

  causes of action alleged in this Complaint pursuant to 28 U.S.C. § 1331.

          20.     The Court has supplemental jurisdiction over the Florida state law causes of action

  alleged in this Complaint pursuant to 28 U.S.C. § 1367 because these claims arise out of the same

  nucleus of operative facts as Plaintiff’s federal law claims.

          21.     The Court has personal jurisdiction over Defendants because they are either

  residents of or maintain their principal place of business in this Judicial District.

          22.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391 because at

  least one of the defendants either resides in or maintains a principal place of business in this

  Judicial District, and because all or a substantial part of the events giving rise to this action

  occurred in this Judicial District.

                                        GENERAL ALLEGATIONS

          23.     95 Investments LLC (“95 Investments”) and Hernandez are each 50% owners of

  Time and Tonic Holdings LLC (“Time and Tonic”).

          24.     On November 1, 2022, 95 Investments and Hernandez entered into a Confidential

  Settlement Agreement and Mutual General Release (“Settlement Agreement”) in order to resolve



                                                     5
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 6 of 30




  a managerial and member deadlock in the Company and to settle all disputes and disagreements

  with respect to Time and Tonic. The Settlement Agreement is attached as Exhibit A.

           25.   Pursuant to the Settlement Agreement, Cohen Anytime agreed to buy and did buy

  Time and Tonic’s full inventory of watches at the agreed price of $7,500,000.00. An invoice of

  $7,500,000.00 for the purchase of Time and Tonic’s full inventory of watches (“T&T Invoice”)

  is attached as Exhibit 1 to the Settlement Agreement.

           26.   The T&T Invoice required Cohen Anytime to pay Time and Tonic in two

  installments: 50% of the T&T Invoice ($3,750,000.00) by January 30, 2023 (within 90 days of the

  invoice date of November 1, 2022) and the remaining 50% of the T&T Invoice ($3,750,000.00)

  by April 30, 2023 (within 180 days of the invoice date of November 1, 2022).

           27.   As part of the Settlement Agreement, Time and Tonic contemporaneously executed

  an Assignment and Assumption Agreement (“Assignment”) thereby assigning the T&T Invoice

  to Plaintiff in conditional satisfaction of an antecedent debt due by Time and Tonic to Babieca.

  The Assignment is attached to the Settlement Agreement as Exhibit 2. Thus, by way of the

  Assignment, Cohen Anytime now owed the T&T Invoice sum to Babieca and not to Time and

  Tonic.

           28.   At the time of execution of the Assignment, Time and Tonic owed a substantial

  debt to Babieca in excess of $7,500,000.00 excluding interest, late fees, attorney’s fees and costs.

  Time and Tonic was a debtor of Babieca, and Babieca was concerned that if Time and Tonic sold

  its full inventory of watches to Cohen Anytime, that Babieca would no longer be able to collect

  against Time and Tonic on that debt.

           29.   To resolve Babieca’s concerns, as part of the Settlement Agreement and

  contemporaneous with the aforementioned Assignment, Cohen Anytime also executed a



                                                   6
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 7 of 30




  Promissory Note in favor of Babieca, and Cohen – as 100% owner of Cohen Anytime – executed

  a Guaranty in favor and for the benefit of Babieca. The Promissory Note and Guaranty are attached

  as Exhibits B and C respectively (and are also attached to the Settlement Agreement as Exhibits

  3 and 4 respectively).

          30.    The purpose of the Promissory Note and Guaranty was to assure that Cohen

  Anytime and/or Cohen would satisfy the debt that Cohen Anytime now owed to Babieca by way

  of the Assignment. The Promissory Note and Guaranty bound Cohen Anytime, with Cohen as

  guarantor, for the T&T Invoice amount of $7,500,000.00 with a fixed, per annum interest of 3%.

          31.    In addition, as part of the Settlement Agreement, Cohen Anytime also executed a

  Security Agreement in favor of Babieca (the secured party) whereby Cohen Anytime granted

  Babieca a security interest in “collateral” as defined by the Security Agreement to secure the

  payment and performance in full of the Promissory Note. The Security Agreement is attached as

  Exhibit D (and was attached to the Settlement Agreement as Exhibit 4). 2

          32.    Neither Cohen nor Cohen Anytime paid Babieca $3,750,000.00 by January 30,

  2023.

          33.    Neither Cohen nor Cohen Anytime paid Babieca $3,750,000.00 by April 30, 2023.

          34.    In accordance with the terms of the Security Agreement, Babieca sent Cohen

  Anytime and Cohen written notice of Cohen Anytime’s default under the Promissory Note and

  Guaranty and made several oral and written demands for payment of all monies owed under the

  Promissory Note, but to no avail.




  2
   The Settlement Agreement, T&T Invoice, Assignment, Promissory Note, Guaranty, and Security
  Agreement are collectively referred to as the “Settlement Documents”.
                                                 7
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 8 of 30




         35.     Since the execution of the Settlement Documents, Cohen Anytime and Cohen have

  failed or refused to make any payment to Babieca under the terms of the agreements and are

  therefore in material breach of the Settlement Documents and all sums due are immediately

  payable to Babieca.

         36.     In connection with Florida state court 3 proceedings initiated by Plaintiff, Cohen

  Anytime turned over to Plaintiff’s counsel the Concord Watch, 5 emeralds and 11 rubies as

  collateral for Cohen Anytime. The items are held in trust by court order. No cash was transferred

  to Plaintiff, and no accounts receivable were reported or transferred to Plaintiff. 4 Besides the

  foregoing, an additional watch was provided, but no further collateral has been provided or

  disclosed by Cohen Anytime or Cohen.

         37.     Cohen Anytime also provided purported “Financial Statements”. A copy of initial

  purported    Financial     Statements     for   Cohen      Anytime,     Inc.    (Bates    reference

  “COHEN_ANYTIME_INC 001-0052”) (“Initial Purported Financial Statements”) and

  supplemental purported Financial Statements for Cohen Anytime, Inc. as well as bank statements



  3
    The matter is inactive and is case no. 2023-002294-CA-01 in Miami-Dade County Circuit Court.
  Defendants Katherine Cohen and Juliana Builes were never defendants in the state action.
  Defendants Izhak Cohen and his company Cohen Jewels were voluntarily dismissed without
  prejudice from the state action. Defendant Tonic Investments was a defendant in the state case
  and was voluntarily dismissed without prejudice. The only remaining defendants in the state case
  are Defendants Mordechai Cohen, Cohen Anytime and Juan Pablo Hernandez. All three filed, in
  blatant bad faith, for bankruptcy protection either a few months before or on the eve of trial, in a
  concerted effort to avoid adjudication on the merits in the state case. As to Mordechai Cohen and
  Cohen Anytime, their bankruptcies were dismissed with a period of 180 days prohibiting refiling.
  The US Bankruptcy Trustee took an active role in investigating the bona fides of those
  bankruptcies. Juan Pablo Hernandez’s bankruptcy case remains pending but is likely to be
  dismissed as well for his willing noncompliance with bankruptcy requirements. The state case
  will need should be closed out with respect to Defendants Cohen and Cohen Anytime. Nothing
  impedes the progress of the instant case as it is expanded and states Federal claims with additional
  parties above and beyond the state case.
  4
    Furniture in the possession of Cohen Anytime was also reported as collateral but not turned
  over.
                                                   8
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 9 of 30




  (Bates reference “COHEN_ANYTIME_INC 0053-0213”) (“Supplemental Purported Financial

  Statements”) are attached as Exhibits E and F.

         38.     The Initial Purported Financial Statements consisted of only the following: (1) a

  one-page Balance Sheet for the period November 1, 2022 to March 21, 2023; (2) a one-page

  Statement of Income for the period November 1, 2022 to March 21, 2023; (3) a one-page

  Supplementary Schedule for the period November 1, 2022 to March 21, 2023; (4) a General Ledger

  printout as of March 31, 2023 which purports to cover the same period as the Balance Sheet and

  Statement of income; and (5) Monthly Bank Statements from Bank of America from November

  1, 2022 through March 31, 2023 for the account ending in “3677.”

         39.     In addition to the Initial Purported Financial Statements and Supplemental

  Purported Financial Statements, Cohen Anytime produced two purported invoices: Invoice #1028

  dated January 7, 2023 in the amount of $200,000 issued to Tonic Investments for the purported

  sale of a Audemars Piguet watch, and Invoice #1029 dated February 18, 2023 in the amount of

  $1,040,000 issued to Tonic Investments for the purported sale of two Richard Mille watches.

  Invoice #1028 and Invoice #1029 (“Purported Invoices”) are attached as Exhibit G.

         40.     Based upon a review of the Initial Purported Financial Statements, Supplemental

  Purported Financial Statements, and Purported Invoices produced by Cohen Anytime, it is

  apparent that Cohen Anytime and Cohen, along with assistance of the other named Defendants,

  through the RICO criminal enterprise have engaged in a systematic and unlawful scheme to

  defraud Babieca, including fraudulently converting, thieving, concealing, and transferring the

  collateral (monies and assets) that were secured by the Security Agreement and should have been

  paid or transferred to Babieca in satisfaction of the Settlement Agreement.

         41.     In particular, the Initial Purported Financial Statements reveal the following:



                                                   9
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 10 of 30




                 •   The Initial Purported Financial Statements are grossly inadequate and do not

                     reconcile with the General Ledger;

                 •   There is no inventory account or detailed transaction entries;

                 •   There is no “accounting” for the $7,500,000.00 worth of watches Cohen

                     Anytime received on November 1, 2022 as part of the Settlement Agreement;

                     and

                 •   Deposits and Disbursements reflected in the Bank Statements are not consistent

                     with the Financial Statements.

         42.     In addition, the Initial Purported Financial Statements also reveal in the bank

  statements a number of apparent unjustified transactions or disbursements to related parties or

  parties that otherwise have no legitimate business dealings with Cohen Anytime, including Cohen,

  Izhak, Cohen Jewels, Tonic Investments (a company owned and/or controlled by Hernandez),

  Katherine (Cohen’s daughter), and Builes (Cohen’s girlfriend). A copy of the referenced Bank

  Statements are attached as included as part of Exhibit E and Exhibit F. Upon information and

  belief, these transactions and disbursements were fraudulently done by Defendants as part of a

  RICO criminal enterprise engaged in by Defendants in an effort to hinder, delay or defraud Babieca

  in collection of the debt owed by Cohen Anytime and Cohen as guarantor.

         43.     Similarly, the Supplemental Purported Financial Statements also fail to provide

  basic financial information regarding the finances of Cohen Anytime, and more importantly, the

  whereabouts of the $7,500,000.00 worth of watches Cohen Anytime received or other assets at

  issue. In particular, the Supplemental Purported Financial Statements reveal the following:

                 •   The production by Cohen Anytime is still inadequate and is still missing key

                     financial records like inventory records, sales records, etc;


                                                   10
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 11 of 30




                 •   The supplemental documents do not tie into the bank statements already

                     produced;

                 •   More dissipation of company assets; and

                 •   Highlight questionable accounting practices by Cohen Anytime.

         44.     Consistent with their pattern and scheme to hinder, delay, or defraud Babieca in the

  collection of the debt owed by Cohen Anytime and Cohen, Defendants through the criminal

  enterprise have also used the judicial system to successfully evade production of any meaningful

  financial discovery, including filing multiple fraudulent bankruptcy filings to delay trial of the

  state court proceedings. For example, Cohen Anytime filed for bankruptcy on a Friday afternoon

  on the eve of trial which was set to begin the following Monday. Cohen Anytime’s bankruptcy

  was dismissed on October 9, 20204 due to its failure to provide the required documents to the

  trustee and because the case had been filed in bad faith to delay the pending state court trial. A

  copy of the October 9, 2024 Cohen Anytime bankruptcy order is attached as Exhibit H. Cohen

  also personally filed for bankruptcy in March 2024 which was voluntarily dismissed on August

  20, 2024. The bankruptcy court then imposed sanctions against Cohen for failure to show at his

  deposition and has prohibited him from re-filing for bankruptcy for 180 days or February 16,

  2025 5. A copy of the August 20, 2024 Cohen bankruptcy order is attached as Exhibit I. Cohen

  has abused the bankruptcy system.

         45.     Defendants’ abuse of the judicial process (both in the state case and bankruptcy

  courts) is only part of their scam. In addition, Cohen Anytime and Cohen with the assistance Tonic


  5
    Hernandez appears to be going down a similar path as the trustee in his bankruptcy has filed
  several notices of deficiencies and recommendations and there is a pending motion to dismiss the
  bankruptcy for failure to comply with the trustees’ notices. It is also believed Hernandez has fled
  the country in order to avoid any liability, as he failed to show at three scheduled depositions in
  the state court case and was set to appear at trial via zoom.
                                                  11
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 12 of 30




  Investments and Hernandez have, upon information and belief, falsified records, creating fictitious

  invoices in an effort to hinder, delay or defraud Babieca. In particular, Cohen Anytime produced

  the Purported Invoices (Invoice #1028 and Invoice #1029) totaling purported sales of $1,240,000

  in watches, 6 but there are no entries in the General Ledger produced by Cohen Anytime

  acknowledging these amounts as “Accounts Receivable” nor are these amounts reflected in the

  Balance Sheet as of March 31, 2023. See Exhibits E, F, and G (Initial Purported Financial

  Statements, Supplemental Purported Financial Statements, and Invoice #1028 and #1029).

         46.      Moreover, based on its own independent investigation Babieca discovered and

  obtained another invoice from non-party Platinum Times, LLC (“Platinum Times”) – Invoice

  #1034 dated February 16, 2023 (which predates Invoice #1029 above yet has a higher invoice

  number of “1034”) – that was issued by Cohen Anytime in the amount of $1,000,000.00 for the

  recent (February 16, 2023) sale to Platinum Times of one of the same Richard Millie Jackie Chan

  watches listed in Invoice #1029 issued to Tonic Investments. A copy of Invoice #1034 is attached

  as Exhibit J.

         47.      Similarly, Invoice #1034 is also not recorded in the General Ledger or reflected in

  the Balance Sheet as an “Accounts Receivable.” There is also no record of payment for either

  Invoice #1034 or Invoice #1029 in any bank statements, nor does the cash balance reflect a sale

  thereof. See Exhibits E, F, G, and H (Initial Purported Financial Statements, Supplemental

  Purported Financial Statements, and Invoice #1028, #1029, and #1034).

         48.      Cohen Anytime and Cohen did not disclose the existence of or produce Invoice

  #1034 in the state court proceeding; instead, they, with assistance of Hernandez and Tonic



  6
    As noted, Invoice #1028 dated January 7, 2023 in the amount of $200,000 to Tonic Investments
  for the purported sale of a Audemars Piguet watch, and Invoice #1029 dated February 18, 2023 in
  the amount of $1,040,000 is for the purported sale of two Richard Mille watches.
                                                  12
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 13 of 30




  Investments, knowingly produced fraudulent Purported Invoices, and in doing so Cohen Anytime

  and Cohen, with the assistance of Hernandez and Tonic Investments, have attempted to defraud

  Babieca of monies or assets owed by Cohen Anytime and Cohen as guarantor.

         49.     Prior to signing the Settlement Documents, Cohen and Cohen Anytime never

  intended to pay Plaintiff the $7.5 million. This scam was all part of the RICO criminal enterprise

  engaged in by Defendants, and in order for this plan to work, Cohen and Cohen Anytime had to

  become “judgment proof” meaning that they would appear uncollectible on paper, because they

  had no money in their bank accounts, in the event that Plaintiff ever decided to sue to enforce the

  Settlement Documents. Therefore, immediately prior to executing the Settlement Documents,

  Cohen, individually and acting on behalf of Cohen Anytime and Cohen Jewels, began hiding cash

  in real property by fraudulently transferring money to Builes, Cohen’s girlfriend, and Pablo

  Puelvas” (who is believed to be an alias of “Paul Buelvas”) (“Puelvas”), the recent ex-husband of

  Builes, for them to buy property from third parties and either hold the real property for the benefit

  of Cohen or transfer it to another entity that would be held for the benefit of Cohen.

         50.     Plaintiff’s investigation to date has revealed the following apparent fraudulent

  transactions believed to done as part of the RICO criminal enterprise engaged in by Defendants:

                 •   On October 28, 2022, Cohen Anytime transferred $328,000.00 to Nova Title

                     on behalf of Builes, Cohen’s girlfriend, so she could purchase a house in Boca

                     Raton, Florida. There is no legitimate business reason for this transfer of money

                     to Builes.

                 •   On January 10, 2023, Cohen Anytime transferred $190,000.00 to Puelvas.

                     There was no legitimate business purpose for this transfer of money to “Pablo

                     Puelvas” a/k/a Paul Buelvas.


                                                    13
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 14 of 30




              •   On April 6, 2023, a company called “330 Sunny Isles FL LLC” purchased an

                  Aventura condominium unit located at 330 Sunny Isles Blvd., unit 5-603 (the

                  “Aventura Condo”), for $950,000.00. Edward J. McCormick, Esq. prepared the

                  330 Sunny Isles FL LLC affidavit stating that Paul Buelvas is the member of

                  this Delaware LLC.

              •   On May 23, 2023, the company, 7345 SW 96th Street LLC sold real estate

                  located at 7345 SW 96th St., Pinecrest, FL 33156 (the “Pinecrest Property”).

                  The Pinecrest Property was sold to 7345 Pinecrest LLC, for $2,130,000.00 and

                  the deed was returned to Edward J. McCormick, P.A. Joel Vigo was the

                  managing member of 7345 Pinecrest LLC. On August 28, 2023, only three

                  months later, 7345 Pinecrest LLC sold the Pinecrest Property to Juliana Builes

                  for $2,139,100.00. The $9,000.00 difference in the sales price for the Pinecrest

                  Property did not cover closing costs and doc stamp costs and there was no

                  legitimate business purpose for this real property transaction.           Upon

                  information and belief, Builes owns the Pinecrest Property for the benefit of

                  Cohen.

              •   On March 15, 2024, approximately 1 year after the purchase, 330 Sunny Isles

                  FL LLC sells the Aventura Condo for the same purchase price, $950,000.00, to

                  JV Sunny Isles LLC. Again, the warranty deed for the Aventura Condo

                  transaction was prepared by Edward J. McCormick, P.A. Again, Joel Vigo is

                  the managing member of JV Sunny Isles LLC and owns it for the benefit of

                  Cohen.




                                               14
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 15 of 30




          51.       Upon information and belief, as part of the RICO criminal enterprise engaged in by

  Defendants, Cohen is using the Pinecrest Property and Aventura Condo to hold the proceeds of

  the sale of Plaintiff’s watches for the purposes of thwarting and preventing Plaintiff from

  recovering on a future judgment against Cohen, Cohen Anytime and other conspirators.

          52.       In addition, Defendants have continued to attempt to make themselves judgment

  proof by fraudulently closing companies, depleting bank accounts, transferring large sums of

  money to third parties, transferring real property to third parties or shell companies, and even

  fleeing the jurisdictions. All promises of collateral or collateral that Cohen Anytime has been

  ordered to produce seem to be worthless with no documentation of ownership or value.

          53.       All conditions precedent to the commencement of this action have occurred, been

  excused, or have been waived.

          54.       Babieca has obligated itself to pay the undersigned attorneys a reasonable fee for their

  legal services.

                           COUNT I – BREACH OF PROMISSORY NOTE
                                     (Against Cohen Anytime)

          55.       Babieca re-alleges the allegations of paragraphs 1 through 54, above.

          56.       The Promissory Note in favor of Babieca given by Cohen Anytime is a valid and

  enforceable contract under Florida law. See Promissory Note attached as Exhibit B.

          57.       Cohen Anytime has defaulted and failed to make any payment to Babieca under the

  Promissory Note.

          58.       In accordance with the terms of the Promissory Note, Babieca sent Cohen Anytime

  written notice of Cohen Anytime’s default under the Promissory Note and has made formal

  demand for payment of all monies owed under the Promissory Agreement, plus interest.




                                                      15
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 16 of 30




         59.     Cohen Anytime is in material breach of its obligations under the Promissory Note

  due to its non-payment of $7,500,000.00, plus interest, which was due and payable upon Babieca’s

  demand after Cohen Anytime's default of the Promissory Note’s terms.

         60.     As a consequence of the foregoing, Babieca has suffered damages in the amount of

  $7,500,000.00, plus accrued interest, post-judgment interest, attorney’s fees, and costs.

         WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor and

  against Cohen Anytime for all damages suffered by Babieca, including interest, attorney’s fees, and

  costs, and for any other remedies allowable by law or that the Court deems just and proper.

                             COUNT II – BREACH OF GUARANTY
                                       (Against Cohen)

         61.     Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         62.     Cohen willingly provided the Guaranty in favor and for the benefit of Babieca to

  secure the obligations of the Promissory Note, both of which are valid and enforceable contracts.

  See Promissory Note and Guaranty attached as Exhibits B and C respectively.

         63.     Cohen Anytime defaulted and failed to make any payment to Babieca as required

  under the Promissory Note.

         64.     In accordance with the terms of the Guaranty, Babieca sent Cohen Anytime written

  notice of Cohen Anytime’s default under the Promissory Note and made a formal demand for

  payment of all monies owed under the Guaranty.

         65.     Cohen has failed or refused to make any payment owed to Babieca under the

  Guaranty.

         66.     Cohen is in material breach of his obligations under the Guaranty due to his non-

  payment of $7,500,000.00, plus interest, which was due and payable to Babieca upon Babieca’s

  demand after default of the Promissory Note by Cohen Anytime.

                                                  16
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 17 of 30




         67.     As a consequence of the foregoing, Babieca has suffered damages in the amount of

  $7,500,000.00, plus accrued interest, post-judgment interest, attorney’s fees, and costs.

         WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor and

  against Cohen for all damages suffered by Babieca, including interest, attorney’s fees and costs,

  and for any other remedies allowable by law or that the Court deems just and proper.

                COUNT III – ENFORCEMENT OF SECURITY AGREEMENT
                                (Against Cohen Anytime)

         68.     Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         69.     Cohen Anytime entered into the Security Agreement in favor and for the benefit of

  Babieca, which is a valid and enforceable contract. See Security Agreement attached as Exhibit D.

         70.     Cohen Anytime has defaulted and has failed to make any payment to Babieca as

  required under the Promissory Note.

         71.     In accordance with the terms of the Security Agreement, Babieca sent Cohen

  Anytime written notice of Cohen Anytime’s default under the Promissory Note and made a formal

  demand for payment of all monies owed under such document.

         72.     Cohen Anytime never gave Plaintiff a valid security interest.

         73.     Cohen Anytime has failed or refused to make any payment owed to Babieca under

  the Promissory Note.

         74.     Cohen Anytime is in material breach of its obligations under the Security

  Agreement due to its non-payment of $7,500,000.00, plus interest, which was due and payable

  upon Babieca’s demand after default of the Promissory Note payment terms.

         75.     As a consequence of the foregoing, Babieca exercises its rights under the Security

  Agreement and demands relief under same for possession and seizure of all assets pledged by such

  agreement.

                                                  17
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 18 of 30




         WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor and

  against Cohen Anytime for all damages suffered by Babieca, including pre and post judgment relief

  of seizing and taking possession and title of the secured collateral pledged by way of the Security

  Agreement, interest, attorney’s fees and costs, and for any other remedies (monetary and/or

  equitable) allowable by law or that the Court deems just and proper.

                                     COUNT IV – REPLEVIN
                                     (Against All Defendants)

         76.     Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         77.     The Security Agreement executed by Cohen Anytime provides Babieca a security

  interest in “collateral” as defined by the Security Agreement, including the inventory of watches

  purchased by Cohen Anytime pursuant to the Settlement Agreement (set forth in Exhibit 1 to the

  Settlement Agreement). See Security Agreement attached as Exhibit D, ¶ 2(a).

         78.     Paragraph 10 of the Security Agreement additionally provides, inter alia, that upon

  a default by Cohen Anytime, Babieca (the secured party) is entitled to immediate possession of

  the collateral as defined by the Security Agreement. See Security Agreement, ¶ 10.

         79.     Babieca believes that some or all of the collateral, including watches purchased by

  Cohen Anytime pursuant to the Settlement Agreement, is currently in the possession of Cohen

  Anytime, Cohen or the other named Defendants or related parties to Defendants.

         80.     Babieca hereby demands that possession of the collateral, including any watches

  purchased by Cohen Anytime pursuant to the Settlement Agreement and all other jewelry and

  other inventory secured by the Security Agreement, be delivered to Babieca.

         81.     The collateral and watches purchased pursuant to the Settlement Agreements have

  been intentionally and wrongfully detained by Cohen Anytime, Cohen or the other named

  Defendants or related parties to Defendants.

                                                  18
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 19 of 30




         82.     Upon information and belief, Cohen Anytime, Cohen and the other named

  Defendants have failed and refuse to make available or return the collateral and watches purchased

  pursuant to the Settlement Agreement to Babieca in order to avoid Babieca taking possession and

  liquidation of it by Babieca to satisfy Cohen Anytime’s obligations under the Settlement

  Agreement.

         83.     Babieca is entitled to immediate possession of the collateral, including any watches

  purchased by Cohen Anytime pursuant to the Settlement Agreement and all other jewelry and

  other inventory secured by the Security Agreement.

         WHEREFORE, Babieca requests that this Court enter judgment in its favor and against

  Defendants finding that Babieca is entitled to immediate possession of the collateral under the

  Security Agreement, including the watches purchased by Cohen Anytime pursuant to the

  Settlement Agreement and all other jewelry and other inventory secured by the Security

  Agreement, and for all damages suffered by Babieca, including interest, attorney’s fees and costs,

  and for any other remedies (monetary and/or equitable) allowable by law or that the Court deems

  just and proper.

                                    COUNT V – CONVERSION
                                     (Against Cohen Anytime)

         84.     Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         85.     Babieca has an indisputable security interest in the collateral listed in Paragraph

  2(a) of the Security Agreement, including any watches purchased by Cohen Anytime pursuant to

  the Settlement Agreement and all other jewelry and other inventory secured by the Security

  Agreement, and has a present right of possession of that collateral.

         86.     Cohen Anytime, without Babieca’s consent or authorization, has knowingly sold,

  transferred, or concealed the whereabouts of the collateral, including any watches purchased by

                                                  19
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 20 of 30




  Cohen Anytime pursuant to the Settlement Agreement, and has refused or failed to provide it to

  Cohen Anytime, despite the demand of Babieca and its obligation to do so under the Security

  Agreement.

         87.     Cohen Anytime, by its actions, further knowingly misappropriated and converted

  the proceeds (monies) from the sale or transfer of the collateral for its own use without the consent

  of Babieca.

         88.     By selling, transferring, or concealing the whereabouts of the collateral, and by

  misappropriating and converting any proceeds (monies) from the sale or transfer of the collateral,

  Cohen Anytime has unlawfully converted the collateral for his own use and exercised exclusive

  dominion and control over the collateral with the intent to deprive Babieca of the collateral.

         89.     As a direct and proximate cause of the aforementioned conversion of the collateral

  (save for those returned), Babieca has been damaged.

         WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor and

  against Cohen Anytime for all damages suffered by Babieca, including interest, attorney’s fees and

  costs, and for any other remedies (monetary and/or equitable) allowable by law or that the Court

  deems just and proper.

                    COUNT VI – AIDING AND ABETTING CONVERSION
                           (Against Cohen, Cohen Jewels, Izhak,
                         Tonic Investments, Katherine, and Builes)

         90.     Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         91.     Babieca has an indisputable security interest in the collateral listed in Paragraph

  2(a) of the Security Agreement, including any watches purchased by Cohen Anytime pursuant to

  the Settlement Agreement and all other jewelry and other inventory secured by the Security

  Agreement, and has a present right of possession of that collateral.



                                                   20
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 21 of 30




         92.     Cohen, Cohen Jewels, Izhak, Tonic Investments, Katherine, and Builes aided and

  abetted Cohen Anytime in the conversion of the collateral secured under the Security Agreement,

  including any watches purchased by Cohen Anytime pursuant to the Settlement Agreement and

  all other jewelry and other inventory secured by the Security Agreement, by facilitating the transfer

  and sale of the collateral despite knowledge of Babieca security interest in the collateral.

         93.     As a direct and proximate result of Cohen, Cohen Jewels, Izhak, Tonic Investments,

  Katherine, and Builes’ participation in the scheme to defraud Babieca, including fraudulently

  converting, thieving, concealing, and transferring the collateral (monies and assets) that were

  secured by the Security Agreement, Plaintiff has suffered damage (save for those returned).

         WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor

  and against Cohen, Cohen Jewels, Izhak, Tonic Investments, Katherine, and Builes for all damages

  suffered by Babieca, including interest, attorney’s fees and costs, and for any other remedies

  (monetary and/or equitable) allowable by law or that the Court deems just and proper.

       COUNT VII –FRAUDULENT TRANSFERS (FLA. STAT. §§ 726.101, ET. SEQ.)
                           (Against All Defendants)

         94.     Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         95.     All conditions precedent to the filing of this count under Florida’s Uniform

  Fraudulent Transfer Act (Fla. Stat. §§ 726.101, et. seq.) (“FUFTA”) have been satisfied.

         96.     Based upon a review of Cohen Anytime’s Initial Purported Financial Statements,

  Supplemental Purported Financial Statements and the Purported Invoices and Invoice #1034, as

  well as the other transfers described above (see ¶¶ 50-51, above), Plaintiff has identified a number

  of unlawful transactions and disbursements to related parties or parties that otherwise have no

  legitimate business dealings with Cohen Anytime, including Cohen, Izhak, Cohen Jewels, Tonic

  Investments, Katherine, and Builes.

                                                   21
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 22 of 30




         97.       Babieca is a creditor of Defendants since it has claims stated in this action for

  damages and return of fraudulently obtained funds.

         98.       The funds obtained from Cohen Anytime by Defendants - with the facilitation and

  participation of Cohen and others - were transferred in the following manner, thereby carrying

  badges of fraud:

               •   The transfers were made to corporate insiders or related parties, or bank accounts

                   owned and controlled by Defendants;

               •   Cohen Anytime has become essentially insolvent due to the account depletion;

               •   The transfers were for no legitimate business purpose; and

               •   The transfer of funds was intentionally and wrongfully concealed.

         99.       Defendants are each individual transferees of fraudulently transferred funds and

  each is therefore individually liable under FUFTA and is a proper party to this claim.

         100.      For the foregoing reasons, the transfers were made fraudulently as defined and

  provided for in FUFTA.

         WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor

  and against Defendants for all damages suffered by Babieca, including interest, attorney’s fees and

  costs, and for any other remedies (monetary and/or equitable) allowable by law or that the Court

  deems just and proper, including:

     (1) Concluding that badges of fraud have been sufficiently shown to deem the transfers

         fraudulent under the law;

     (2) Reversing the burden of proof and requiring Defendants to justify all transfers as per law;

     (3) Granting avoidance of the transfers to the extent necessary to satisfy Babieca’s claims

         against Defendants;


                                                   22
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 23 of 30




     (4) Granting an attachment or other provisional remedy against the discovered assets

         transferred or other property of the transferee;

     (5) Granting an injunction against further disposition by Defendants, or transferees, or both,

         of the discovered assets transferred or of other property;

     (6) Allowing Babieca to levy execution on the asset transferred;

     (7) Awarding Babieca reasonable attorney’s fees and costs incurred in satisfying its claim; and

     (8) Awarding Babieca any such other and further relief as the court deems just and proper.

             COUNT VIII – CIVIL THEFT PURSUANT TO FLA. STAT. §812.014
                           (Against Cohen Anytime, and Cohen)

         101.    Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         102.    Cohen Anytime is guilty of theft pursuant to Fla. Stat. §812.014. In particular, and

  as stated in Exhibit K, Cohen Anytime knowingly (1) sold, transferred, or concealed the

  whereabouts of the collateral at issue, including any watches purchased by Cohen Anytime

  pursuant to the Settlement Agreement, (2) facilitated the transfer, sale or concealment of the

  collateral, or (3) misappropriated the proceeds (monies) from the sale or transfer of the collateral,

  with the intent to permanently deprive Babieca of the right and benefit to such collateral or monies

  for their own use.

         103.    Cohen Anytime acted with felonious intent.

         104.    Babieca is entitled to a claim under Fla. Stat. §772.11 (Civil remedy for theft or

  exploitation) and is entitled to treble damages.

         105.    Pursuant to Fla. Stat. §772.11, Plaintiff has made written demand on Cohen

  Anytime (a copy of the letter is attached as Exhibit K), and Cohen Anytime has failed to pay treble

  damages.




                                                     23
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 24 of 30




            106.   As a direct and proximate result of Cohen Anytime’s actions as set forth above,

  Babieca has been damaged.

            WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor

  and against Cohen Anytime for treble damages, interest, attorney’s fees and costs, and for any

  other remedies (monetary and/or equitable) allowable by law or that the Court deems just and

  proper.

                           COUNT IX – FRAUDULENT INDUCEMENT
                              (Against Cohen Anytime, and Cohen)

            107.   Babieca re-alleges the allegations of paragraphs 1 through 54 above.

            108.   As noted, the owners of Time and Tonic, 95 Investments and Hernandez, entered

  into a Settlement Agreement to resolve a managerial and member deadlock in the Company and

  to settle all disputes and disagreements between the owners with respect to Time and Tonic.

            109.   As part of (and included in) the Settlement Agreement: (1) Cohen Anytime agreed

  to purchase Time and Tonic’s full inventory of watches for $7,500,000.00 as set forth in the T&T

  Invoice, (2) Time and Tonic and Babieca executed the Assignment whereby Time and Tonic

  assigned the T&T Invoice to Babieca, (3) Cohen Anytime executed the Promissory Note in favor

  of Babieca (which was acknowledged and accepted by Babieca), (4) Cohen – as 100% owner of

  Cohen Anytime – executed a Guaranty in favor and for the benefit of Babieca, and (5) Cohen

  Anytime and Babieca executed the Security Agreement in favor of Babieca granting Babieca a

  security interest in the collateral to secure the payment and performance in full of a Promissory

  Note for $7,500,000 executed by Cohen Anytime.

            110.   Cohen Anytime and Cohen knew or should have known, or were reckless in failing

  to know that Cohen Anytime did not have the funds available to pay Babieca for the inventory of

  watches at the agreed price of $7,500,000.00 and that Cohen Anytime never in fact intended to

                                                   24
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 25 of 30




  pay Babieca the inventory of watches it purchased (but instead intended to defraud Babieca as set

  forth above) before Babieca agreed to terms outlined in the Settlement Documents including

  execution of the Assignment and Security Agreement; or Cohen Anytime and Cohen engaged in

  conduct and practices or made omissions or representations to Babieca concerning the purchase of

  the inventory of watches and the existence and availability of funds to pay for the watches without

  knowledge of their truth or falsity.

         111.    Despite this actual or constructive knowledge, Cohen Anytime and Cohen

  knowingly engaged in conduct or practices or made misrepresentations, omissions, and/or

  misstatements of material fact with the intent to induce Babieca to agree to terms outlined in the

  Settlement Documents and execution of the Assignment and Security Agreement, including but

  not limited to failing to disclose that Cohen Anytime did not have the funds available to pay

  Babieca for the inventory of watches a and that Cohen Anytime never in fact intended to pay

  Babieca for the inventory of watches it purchased.

         112.    Babieca justifiably relied on the conduct, misrepresentations, omissions, and/or

  misstatements of material fact made by Cohen Anytime and Cohen to its own detriment and was

  induced to agree to terms outlined in the Settlement Documents including execution of the

  Assignment and Security Agreement.

         113.    Babieca would never have entered agreed to the terms of the Settlement Documents

  or executed the Assignment and Security Agreements if Cohen Anytime and Cohen disclosed that

  Cohen Anytime did not have the funds available to pay Babieca for the inventory of watches and

  that Cohen Anytime never in fact intended to pay Babieca for the inventory of watches it

  purchased.




                                                  25
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 26 of 30




         114.    As a direct and proximate result of Cohen Anytime and Cohen’s’ conduct,

  misrepresentations, omissions, and/or misstatements of material fact, Babieca has incurred

  damages.

         WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor

  and against Cohen Anytime and Cohen for all damages suffered by Babieca, including interest,

  attorney’s fees and costs, and for any other remedies (monetary and/or equitable) allowable by law

  or that the Court deems just and proper.

                               COUNT X – CIVIL CONSPIRACY
                                  (Against All Defendants)

         115.    Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         116.    Upon information and belief, Defendants entered into an agreement and conspired

  among themselves to commit illegal acts and to use illegal methods, including but not limited to

  engaging in fraudulent acts, conduct, and misrepresentations, as described above.

         117.    In particular, as described above, Defendants engaged in multiple overt acts,

  conduct, and misrepresentations in furtherance of this conspiracy, including, but not limited to:

  (1) engaging in acts of fraud against Babieca; (2) selling, transferring, or concealing the

  whereabouts of the collateral, including any watches purchased by Cohen Anytime pursuant to the

  Settlement Agreement, (3) facilitating the transfer, sale or concealment of the collateral, and (4)

  misappropriating and converting any proceeds (monies) from the sale or transfer of the collateral.

         118.    As a direct and proximate result of Defendants’ acts performed pursuant to the

  conspiracy, Babieca has incurred damages.

         WHEREFORE, Babieca respectfully requests that this Court enter judgment in his favor

  and against Defendants for all damages suffered by Babieca, including interest, attorney’s fees and




                                                  26
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 27 of 30




  costs, and for any other remedies (monetary and/or equitable) allowable by law or that the Court

  deems just and proper.

                    COUNT XI – VIOLATION OF RICO, 18 U.S.C § 1962(c)

         119.    Babieca re-alleges the allegations of paragraphs 1 through 54, above.

         120.    18 U.S.C. § 1962(c) makes it “unlawful for any person employed by or associated

  with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to

  conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a

  pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C. § 1962(c).

         121.    Each Defendant is a “person” within the meaning of 18 U.S.C. § 1961(3) because

  each Defendant is capable of holding “a legal or beneficial interest in property.”

         122.    An “‘enterprise’ includes any individual, partnership, corporation, association, or

  other legal entity, and any union or group of individuals associated in fact although not a legal

  entity.” 18 U.S.C. § 1961(4).

         123.    A “‘pattern of racketeering activity’ requires at least two acts of racketeering

  activity, one of which occurred after the effective date of this chapter and the last of which occurred

  within ten years (excluding any period of imprisonment) after the commission of a prior act of

  racketeering activity” 18 U.S.C. § 1961(5).

         124.    Defendants formed an association-in-fact enterprise within the meaning of 18

  U.S.C. § 1961(4), and knowingly, willfully and unlawfully conducted and participated in that

  enterprise’s affairs through a pattern of racketeering activity consisting of numerous and repeated

  acts of interstate mail and wire fraud and money laundering to execute a scheme to defraud Plaintiff

  of $7,500,000.00 of luxury watches in violation of 18 U.S.C. § 1962(c).




                                                    27
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 28 of 30




           125.   Defendants used interstate mail, wire and email communications and laundered

  money to create and execute a scheme to defraud Plaintiff of $7,500,000.00 in luxury watches.

           126.   As described herein Defendants knowingly, willfully and unlawfully committed or

  aided and abetted the commission of at least two acts of racketeering activity, i.e., indictable

  violations of 18 U.S.C. § 1341 (relating to mail fraud), 18 USCS § 1343 (relating to wire fraud),

  and/or 18 U.S.C. § 1956 (relating to the laundering of monetary instruments) within the past 10

  years.

           127.   The multiple acts of racketeering activity that Defendants committed and/or

  conspired to, or aided and abetted in the commission of, were not isolated, but rather were related

  to each other. Further, the acts of racketeering by Defendants have been continuous since prior to

  the execution of the Settlement Documents.

           128.   As a direct and proximate consequence of the Defendants’ violations of 18 U.S.C.

  § 1962(c), Plaintiff has been injured in its business and property, causing Plaintiff to suffer

  monetary damages in an amount not less than $7,5000,000.00.

           129.   Because of Defendants’ violations of 18 U.S.C. § 1962(c), Defendants are liable to

  Plaintiff for three times the damages Plaintiff has sustained, plus costs and attorney’s fees.

           WHEREFORE, Babieca respectfully request that this Court enter judgment in its favor

  and against Defendants for treble damages, costs and attorneys’ fees, interest, and for such other

  relief as the Court deems just and proper.

             COUNT XII – CONSPIRACY TO VIOLATE RICO, 18 U.S.C § 1962(d)
                               (Against All Defendants)

           130.   Babieca re-alleges the allegations of paragraphs 1 through 54, above.

           131.   18 U.S.C. § 1962(d) makes it “unlawful for any person to conspire to violate any

  of the provisions of subsection (a), (b) or (c) of this section.”

                                                    28
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 29 of 30




         132.    Each Defendant is a “person” within the meaning of 18 U.S.C. § 1961(3).

         133.    In violation of 18 U.S.C. § 1962(d), Defendants have conspired to violate 18 U.S.C.

  § 1962(c) by conducting, or participating directly or indirectly in the conduct of, the affairs of the

  enterprise through a pattern of racketeering activity, including among other things using interstate

  mail, wire and email communications and laundering money to create and execute a scheme to

  defraud Plaintiff of $7,500,000.00 in luxury watches.

         134.    Defendants knowingly, willfully and intentionally conspired and agreed to conduct

  and participate in the conduct of the affairs of the enterprise described herein through a pattern of

  racketeering activity (interstate mail and wire fraud and money laundering).

         135.    Defendants knew that their actions were part of a pattern of racketeering activity

  and agreed to the commission of those acts to further the conspiratorial scheme.

         136.    Defendants’ conduct constitutes a conspiracy to violate 18 U.S.C. §§ 1962(c) in

  violation of 18 U.S.C. § 1962(d).

         137.    As a direct and proximate consequence of the Defendants’ conspiracy, the overt

  acts taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff has

  been injured in its business and property, causing Plaintiff to suffer monetary damages in an

  amount not less than $7,5000,000.00.

         138.    Because of Defendants’ violations of 18 U.S.C. § 1962(d), Defendants are liable to

  Plaintiff for three times the damages Plaintiff has sustained, plus costs and attorney’s fees.

         WHEREFORE, Babieca respectfully requests that this Court enter judgment in its favor

  and against Defendants for treble damages, costs and attorneys’ fees, interest, and for such other

  relief as the Court deems just and proper.




                                                   29
Case 1:24-cv-24460-PCH Document 1 Entered on FLSD Docket 11/12/2024 Page 30 of 30




                                  DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a trial by jury on all issues triable before a jury.

  Dated: November 12, 2024

                                               Respectfully submitted,

                                               OSORIO INTERNACIONAL, P.A.
                                               175 S.W. 7th Street, Suite 1800
                                               Miami, FL 33130
                                               Telephone: 305.900.4103

                                               /s/ Carlos F. Osorio
                                               Carlos F. Osorio, Esq., B.C.S.
                                               Florida Bar No.: 597546
                                               E-mail: cosorio@osorioint.com
                                               Andrés F. Rey, Esq.
                                               Florida Bar No.: 118875
                                               E-mail: arey@osorioint.com

                                               Counsel for Plaintiff BABIECA CAPITAL, LP




                                                  30
